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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SHALEETA BOYD, et al.,                              Case No. 23-cv-04085-EMC
                                   8                    Plaintiffs,
                                                                                             ORDER RE STATUS REPORTS ON
                                   9             v.                                          FRANCISCO STRUCTURES
                                  10     CITY OF SAN RAFAEL, et al.,
                                                                                             Docket Nos. 181-82
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14          The Court has received and reviewed the status reports filed by the City.
                                  15          To the extent the City has asked for permission to build a fence around the area, see
                                  16   Docket No. 181, it has not established that there is a need to take such action. The City previously
                                  17   asked for that relief but, implicitly, that was to prevent persons from returning to the area and
                                  18   living there again. Currently, there is only evidence that people are removing materials from that
                                  19   area. That being said, the Court notes that it will not bar the City from fencing off the area once
                                  20   Judge Wood has issued all of her orders (assuming she rules in favor of the City as she has done
                                  21   so far and notwithstanding the fact that is a process for judicial review of her orders).
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                                         Case 3:23-cv-04085-EMC Document 183 Filed 07/01/24 Page 2 of 2




                                   1          As for the decisions that have been issued by Judge Wood, they have addressed the

                                   2   structures that were at issue in Chan v. Stefanski, No. C-24-3631 EMC (N.D. Cal.). Although the

                                   3   plaintiffs in Chan may appeal Judge Wood’s decisions, the Court’s order in Boyd at Docket No.

                                   4   178 does not prevent the City from abating the structures as it only prevented the City from acting

                                   5   through the administrative hearing date.

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                                   7          IT IS SO ORDERED.

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                                   9   Dated: July 1, 2024

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                                  11                                                   ______________________________________
                                                                                        EDWARD M. CHEN
                                  12                                                    United States District Judge
Northern District of California
 United States District Court




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